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                       257 54th Street Brooklyn, NY 11220
                      PH: (917)292-4147 FAX: (646)434-0979
                             www.apselectricny.com

                                                             April 12, 2017

                    Notice of Company Meeting
  Attention All Employees:

       On Monday, April 17, 2017, a mandatory companywide meeting

  will be held at 4:30 PM at the following location:

                           172 Madison Avenue
                         New York, NY 10016-5100
                              (at 33rd Street)

  All employees must attend. Failure to attend may result in disciplinary

  action, up to and including termination.


       Thank you,

       Management
       APS Electric Inc.
